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             Entered: August 1st, 2022
             Signed: August 1st, 2022

             SO ORDERED




                                                        UNITED STATES BANKRUPTCY COURT
                                                         FOR THE DISTRICT OF MARYLAND
                                                                   BALTIMORE

                              IN RE

                              RENEE MCCRAY                                       Chapter 7
                                                                                 Case NO. 22-13191-NVA
                                   Debtor(s)

                              FEDERAL HOME LOAN MORTGAGE
                              CORPORATION

                                   Movant                                        Motion No.
                              v.

                              Renee McCray

                              and

                              Zvi Guttman, Trustee

                                   Respondent(s)


                                                  ORDER GRANTING RELIEF FROM AUTOMATIC STAY
                                    Upon consideration of the foregoing Motion Seeking Relief from the Automatic Stay, a
       Mark D. Meyer
      MD BAR 15070
Rosenberg & Associates, LLC
                              hearing having been held, and for the reasons stated on the record at the hearing, it is by the
 4340 East West Highway,
  Suite 600 Bethesda, MD      United States Bankruptcy Court for the District of Maryland
 20814 301-907-8000 File
Number: 22-001930-MD-B-1
                                        ORDERED that the automatic stay imposed by 11 U.S.C. Section 362(a), be and the

                                                                             1
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same is hereby, terminated to enable the Federal Home Loan Mortgage Corporation, its
successors and/or assigns, to proceed in state court with its state law remedies to obtain
possession of the real property known as 109 N. Edgewood Street, Baltimore, MD 21229;
and be it further
       ORDERED that the Automatic Stay of 11 U.S.C. Section 362(a) be, and it hereby,
shall not be reimposed as to the Debtor`s interest, by the conversion of this case to a case
under any other chapter of the Bankruptcy Code.


cc: Mark D. Meyer, Esq.                          Zvi Guttman, Trustee
    Rosenberg & Associates, LLC                  P.O. Box 32308
    4340 East West Highway, Suite                Baltimore, MD 21282
    600
    Bethesda, MD 20814

    Renee McCray
    109 N. Edgewood Street
    Baltimore, MD 21229



                                       End of Order




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